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    Susan M. Sharko                                                          Faegre Drinker Biddle & Reath LLP
    Partner                                                                  600 Campus Drive
    susan.sharko@faegredrinker.com                                           Florham Park, New Jersey 07932
    973-549-7350 direct                                                      +1 973 549 7000 main
                                                                             +1 973 360 9831 fax




                                                 February 1, 2024




    Honorable Rukhsanah L. Singh, U.S. M.J
    United States District Court
    Clarkson S. Fisher Building & U.S. Courthouse
    402 East State Street
    Trenton, NJ 08608

              Re:       Johnson & Johnson Talcum Power Products, Marketing, Sales Practices and
                        Products liability Litigation
                        Case No.: 3:16-md-02738-MAS-RLS

    Dear Judge Singh:

           Enclosed is the parties’ joint proposed agenda for the case management conference on
    February 7. We continue to meet and confer on the issues as noted. Thank you for your continued
    consideration of these matters.

                                                 Respectfully submitted,


                                                 Susan M. Sharko
    SMS
      All counsel via ECF

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